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            16
                                                   UNITED STATES DISTRICT COURT
            17
                                               NORTHERN DISTRICT OF CALIFORNIA
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            19
                     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                 DECLARATION OF CALEB NGUYEN IN
            21                                                    SUPPORT OF PLAINTIFFS’ OPPOSITION
                                                                  TO DEFENDANTS’ MOTION TO DISMISS
            22                       Plaintiffs,
                                                                  Date:      May 27, 2020
            23             v.                                     Time:      9:00 a.m.
                                                                  Courtroom: 3
            24       NSO GROUP TECHNOLOGIES LIMITED               Judge:     Hon. Phyllis J. Hamilton
                     and Q CYBER TECHNOLOGIES LIMITED,
            25
                                     Defendants.
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  COOLEY LLP
ATTO RNEY S AT LAW
                                                                                      NGUYEN DECL. ISO OPP. MTD
 SAN FRA NCI S CO                                                                      CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55-5 Filed 04/23/20 Page 2 of 2



              1             I, Caleb Nguyen, declare:

              2             1.      I submit this declaration in support of Plaintiff Facebook, Inc. and WhatsApp Inc.’s

              3      Opposition to the Motion to Dismiss the Complaint in the above-captioned matter. I have personal

              4      knowledge of the facts set forth herein, and if called to testify as a witness, I could do so competently

              5      under oath.

              6             2.      I am employed as a Data Scientist on the eDiscovery & Litigation in the Legal

              7      Department at Facebook. I have been employed by Facebook since December 10, 2018.

              8             3.      On April 20, 2020, I reviewed WhatsApp records to identify WhatsApp monthly active

              9      users in the United States in May 2019. From my review, I determined that there were approximately

            10       56.6 million monthly active WhatsApp users in the United States as of May 13, 2019.

            11              I declare under penalty of perjury that the foregoing is true and correct. Executed at Palo Alto,

            12       CA, on the 23rd day of April, 2020.

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                                                                           /s/Caleb Nguyen
            14                                                             Caleb Nguyen
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 SAN FRA NCI S CO                                                                                CASE NO. 4:19-CV-07123-PJH
